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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:09CR3134
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
KORINA KIT KUCERA,                             )
                                               )
                    Defendant.                 )


      On the oral motion of the defendant, and without objection by the government,

       IT IS ORDERED that Defendant Kucera’s sentencing is continued to Tuesday,
September 21, 2010, at 12:00 p.m., before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      Dated July 21, 2010.

                                            BY THE COURT:

                                            Richard G. Kopf
                                            United States District Judge
